     Case 2:07-cr-02063-LRS    ECF No. 95   filed 07/25/07   PageID.161 Page 1 of 1




1                             UNITED STATES DISTRICT COURT
2                         EASTERN DISTRICT OF WASHINGTON
3     UNITED STATES OF AMERICA,                )
                                               )     NO. NO. CR-07-2063-LRS-3
4                      Plaintiff,              )
                                               )     ORDER DENYING RELEASE
5           v.                                 )     (Ct Rec. 90)
                                               )
6     JULIAN MORA,                             )
                                               )
7                      Defendant.              )
                                               )
8
9          On July 25, 2007, this court held a bail review hearing.

10 James Hagarty, Esq., appeared for the government and the defendant
11 was present with counsel, Ricardo Hernandez, Esq.
12         The defendant made a motion for the Court to reconsider

13 detention and stated there are conditions that could be imposed
14 that would assure defendant’s appearance as required and community
15 safety.
16         The government argued there are no conditions which justify

17 reconsidering the issue of detention.
18         The Court found there remains an absence of condition or

19 conditions that could be imposed that would reasonably assure this
20 defendant's presence at trial and further, that the evidence is
21 clear and convincing that there are no conditions that could be
22 imposed which would protect community safety.
23         The Court denied defendant’s motion for release(Ct Rec. 90).

24 Defendant shall remain in the custody of the U.S. Marshal.
25         IT IS SO ORDERED.

26         DATED this 25th day of July, 2007.

27                                                 s/Mary Alice Theiler
                                                     MARY ALICE THEILER
28                                                 United States Magistrate Judge


     ORDER DENYING RELEASE - 1
